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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA

  v.                                                        Case No. 1:21-CR-292-1-RCL

  CHRISTOPHER WORRELL,

         Defendant.


                                               ORDER

        It is hereby ORDERED that Defendant Worrell's motion to file ECF No. 231 under seal

is GRANTED. The information contained in that motion is sufficiently specific and personal as

to merit being kept under seal. The relief that Mr. Worrell requested, having his GPS tracking

monitor removed before his trip to Washington D.C., however, does not merit being kept under

seal. Therefore, the Court will refer to that requested relief in this unsealed order.

       It is further ORDERED that Mr. Worrell's requested relief is GRANTED. Specifically, it

is hereby ORDERED that the Middle District of Florida Pretrial Services shall remove Defendant

Worrell's GPS tracking monitor for the purpose of his travel to Washington D.C.

       Let this Court be clear, however. Mr. Worrell must follow the exact plan he has submitted

to this Court and may not use this as an opportunity to freely travel for other purposes. And if Mr.

Worrell fails to appear when he is required to, this Court can and will order that he be found and

brought by the U.S. Marshals to appear for his long awaited trial.

       IT IS SO ORDERED.



Date: April 20, 2023
                                                               Royce C. Lamberth
                                                               United States District Judge
